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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 1:20-cv-23564-MGC-JG

    DAVID WILLIAMS, CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, individually and on behalf of all
    others similarly situated,

           Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,
           Defendants.



                  PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE

          Plaintiffs’ counsel wish to sincerely apologize to the Court for not filing an

   independent supplemental submission addressing the Court’s August 18, 2021, order. [ECF

   No. 105] Plaintiffs’ counsel recognize, upon reflection, that they owed the Court a direct

   response to the Court’s August 18 order, and their failure to do so was error. Plaintiffs’ counsel

   take full responsibility for this error and offer their sincere apologies.

          Without seeking to excuse their error, Plaintiffs’ counsel wish to explain to the Court

   their reasoning for not submitting briefing in response to the Court’s August 18 order.

   Plaintiffs’ counsel understood the August 18 order to be asking the parties to submit additional

   briefing as to what a reasonable consumer (or potential consumer) would understand from a

   change in the label or marketing reference of a Neuriva Product from “clinically proven” to

   “clinically shown.” Plaintiffs’ counsel based their understanding that the order exclusively

   concerned the “shown” language on the Court’s reference to past orders requesting briefing

   on the value of the injunctive relief as a whole [ECF No. 58] and briefing addressing
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   specifically the “clinically tested” language in the Settlement [ECF No. 84]. Because the

   original Settlement (subject to entry of an order finally approving the Settlement) permitted

   Defendants to advertise the Neuriva Products using both “tested” and “shown” language,

   and because the Court previously requested briefing on the “tested” language, Plaintiffs’

   counsel understood the August 18 Order to be limited to additional briefing on what a

   reasonable consumer’s understanding would be of marketing that referenced what clinical

   studies have “shown.”

          Immediately upon receipt of the Court’s August 18 order, Plaintiffs’ counsel and

   Defendants’ counsel engaged in negotiations over whether Defendants would agree to amend

   the settlement agreement to modify the injunctive relief. After vigorous negotiations involving

   multiple calls following the August 18 order, Defendants reluctantly agreed to amend the

   settlement agreement to eliminate their right to use the “shown” language previously

   authorized under the original settlement. Defendants’ counsel acknowledged during

   negotiations that Defendants had previously decided, prior to any objection by Mr. Frank and

   TINA, to use labeling that employed only “clinically tested” language and not the “shown”

   language that was otherwise permitted. However, this voluntary decision would not bind

   Defendants under the original Settlement, and so Plaintiffs’ counsel fought for and obtained

   an amended settlement that was submitted to the Court on September 13, 2021.1 If approved,

   the amended settlement would remove Defendants’ ability to market the Neuriva Products

   using the “shown” language. See ECF No. 116-1, at IV.A.1.d (“Reckitt shall not use the term




   1
    Defendants were unable to secure one of two signatures by September 13, and on September
   15 Defendants submitted the signature page containing the missing signature. [ECF No. 119]

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   ‘Clinically Tested and Shown,’ ‘clinical studies have shown’ or similar ‘shown’ claims on

   Neuriva Products labels or in ancillary marketing.”).

          After reaching this agreement, the parties worked to revise and execute the amended

   settlement agreement in time to meet the Court’s September 13, 2021, deadline. Plaintiffs’

   counsel believed that by removing Defendants’ ability to market the Neuriva Products using

   “shown” language, the amended settlement agreement was their response to the Court’s

   August 18 order. In other words, Plaintiffs’ counsel believed that the amended settlement

   agreement’s prohibition on Defendants’ use of “shown” language resolved the issue of what

   a reasonable consumer would think about brain supplements that do use “shown” language.

          While working to execute the amended settlement agreement, the parties also

   discussed how they were going to introduce it to the Court. In addition to the amended

   settlement agreement, Defendants’ counsel explained to Plaintiffs’ counsel that Defendants

   wished to stress the substantiation for the Neuriva Products in their submission to the Court.

   Plaintiffs’ counsel opted to allow Defendants to submit the amended settlement based on the

   understanding that the amended settlement was Plaintiffs’ response to the Court’s August 18

   order and because Plaintiffs did not want to join Defendants’ comments regarding

   substantiation. In addition, Plaintiffs had previously addressed [ECF No. 99] the remaining

   “clinically tested” language in response to the Court’s August 5, 2021, order and believed that

   Plaintiffs’ prior filings in conjunction with the filing of the amended settlement agreement

   would be sufficient to address concerns about the actual value of the injunctive relief.

          Plaintiffs’ counsel offers the above explanation in addition to their sincere apology for

   not submitting additional material addressing the Court’s August 18 order. Upon reflection

   and with the benefit of hindsight, Plaintiffs’ counsel should have filed their own submission



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   specifically addressing the amended settlement agreement and its impact on the proposed

   injunctive relief and will remedy that omission in compliance with the order dated September

   14, 2021. [ECF No. 105]



   Dated: September 16, 2021                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 16, 2021, I caused the foregoing to be filed via the

   Court’s electronic filing system which will notify all counsel of record of the same.

                                               /s/ Jonathan B. Cohen

                                               Jonathan B. Cohen




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